
PER CURIAM.
Upon a complaint by The Florida Bar this Court appointed a referee to conduct a hearing regarding Smith’s alleged misconduct. Smith tendered a conditional guilty plea for consent judgment,* acknowledging his violation of Disciplinary Rule 6-101(A)(3). The referee recommended that Smith be found guilty in accordance with his conditional plea and that he be given a public reprimand.
Neither side contests the referee’s report which we hereby adopt. Publication of this opinion in Southern Reporter will serve as the public reprimand.
Judgment for costs in the amount of $631.25 is hereby entered against respondent, for which let execution issue.
It is so ordered.
*1185ADKINS, A.C.J., and OVERTON, ALDERMAN, EHRLICH and SHAW, JJ., concur.

 We feel it unnecessary to publish the full text of the plea. The Court file is open for inspection.

